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                     EXHIBIT C
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Kerr Forensic Accounting, PC
650 S. Cherry Street  Suite 235  Denver, Colorado 80246  (303) 696-3700  Fax (303) 696-5711




January 8, 2016


Northwestern University
375 E. Chicago Avenue
Chicago, IL 60611
Attn: Mr. Daniel B. Rodriquez, Dean

                                                Re:   Letter from Professor Katherine Litvak
                                                      on Northwestern University Law School
                                                      Letterhead

Dear Mr. Rodriquez,

       I am a forensic accountant that was retained by the Guardian ad Litem for a Protected
Person under the jurisdiction of the Denver Probate Court. I received a copy of the attached letter
that was submitted to the Honorable Thomas P. Aliotta, Supreme Court, Richard County, New
York on letterhead of the Northwestern University School of Law by one of your professors,
Katherine Litvak. I was shocked to receive this letter on your letterhead. I truly believed that
Northwestern University Law School was supporting the statements made by Ms. Litvak. See
copy of letter attached.

       Page 15 of Ms. Litvak’s letter states:

    “…and the Colorado Judge Found those Allegations credible Enough to Authorize an
    Investigation of Pinto’s Conduct by a Forensic Accountant.”

        Not only is this a 100% false statement, but in fact, the Colorado Court authorized me to
conduct an investigation into the actions of her husband, another professor at Northwestern Law
School, Bernard Black. I would not have disclosed this information if Ms. Litvak had not filed
this document with the New York Court with this completely false statement included.

         I do not feel that I am at liberty to disclose the outcome of my forensic investigation, but
as I am sure, as a licensed attorney and the head of a very prestigious law school, you know that
the facts are the facts. I am a licensed CPA, a Certified Fraud Examiner and a Forensic Certified
Public Accountant and am required to provide a factual report based on the financial and other
documents provided. I have provided such a report to the Denver Probate Court, who is the trier
of fact in this matter. An Order was issued on September 28, 2015 with the results of many months
of hearings in this matter. I can tell you unequivocally that the Order in no way reflect Ms. Litvak’s
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Kerr Forensic Accounting, PC
Letter to Northwestern Law School regarding letter from Katherine Litvak
January 8, 2016

allegations. As a matter of fact, Ms. Litvak testified at these hearings, and I can also tell you
unequivocally that I have never, in my entire professional career, listened to a less credible
testimony than Ms. Litvak’s. However, that is a personal opinion but is relevant given Ms. Litvak’s
allegations in the attached letter.

         Since Ms. Litvak has now involved Northwestern University Law School in this matter by
filing a document with the New York Court as if Northwestern University Law School was a party
to this case, I would imagine that if you so choose, you could be provided with a copy of my report
of findings, the Court’s Order of September 28, 2015 and transcripts from the hearings.

        Since this letter with this completely false statement about what I was authorized to
perform was provided to the New York Courts on Northwestern University Law School letterhead,
as if you the school were in support of this letter, I would greatly appreciate if you would notify
the New York Court whether or not Northwestern University Law School in fact, supports these
statements made by your professor, Katherine Litvak.

        As a matter of fact, I have literally hundreds of emails from Mr. Black from his
Northwestern Law School email in response to my inquiries in this investigation as wells as letters
he has written on Northwestern University Law School letterhead to both the New York Courts
and the Denver Probate Court. I believe that given the appearance of the involvement of the
Northwestern University Law School in this case, as a result of both Ms. Litvak’s letter and Mr.
Black’s communications, it is my duty to inform you of these communications. As stated
previously, had Ms. Litvak not included what I was and was not authorized to do to the New York
courts on Northwestern University Law School letterhead, I would never have communicated this
activity to you.

       I look forward to your clarification in this matter.

Very truly yours,




Pamela M. Kerr, CPA, FCPA, CFE



Attachments:
      Copy of Letter from Ms. Litvak on Northwestern Law School Letterhead




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